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                         No. 23-55810


    IN THE UNITED STATES COURT OF APPEALS

                FOR THE NINTH CIRCUIT


                     HODL LAW, PLLC,

                     Plaintiff - Appellant,
                                v.
   U.S. SECURITIES & EXCHANGE COMMISSION,

                     Defendant - Appellee.


     On appeal from the United States District Court
         for the Southern District of California
                   No. 3:22-cv-01832
                 Hon. M. James Lorenz


           APPELLANT’S OPENING BRIEF


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                   Corporate Disclosure Statement


  Pursuant to Fed. R. App. P. 26.1, Plaintiff - Appellant, HODL

LAW, PLLC makes the following disclosures:

  1. For non-governmental corporate parties please list all parent

corporations:

  None.

  2. For non-governmental corporate parties please list all publicly

held companies that hold 10% or more of the party’s stock:

  None.

  3. If there is a publicly held corporation which is not a party to the

proceeding before this Court but which has as a financial interest in the

outcome of the proceeding, please identify all such parties and specify

the nature of the financial interest or interests:

  None.



Dated: November 27, 2023                By: /s/ Fred Rispoli




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                        Appellant’s Opening Brief


    I. JURISDICTIONAL STATEMENT

      A. Jurisdiction in the District Court


  Plaintiff-Appellant Hodl Law, PLLC (“Hodl Law”) filed the

underlying Complaint in this action on November 21, 2022, in the

United States District Court for the Southern District of California.

[2-ER-18] The District Court had jurisdiction pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201 and Fed. R. Civ. P. 57, 28

U.S.C. § 1331, and the Securities Act of 1933, 15 U.S.C. §§ 77v and

78aa. [2-ER-20–21]

  Hodl Law is an Arizona professional limited liability company that

engages in the practice of law with respect to digital assets and

cryptocurrencies. [2-ER-21] The Complaint seeks declaratory relief that

its transactional activity on the Ethereum Network and use of the

Ether digital currency unit (“DCU”) do not implicate the Securities Act

of 1933. [2-ER-20]


      B. Jurisdiction in the Ninth Circuit Court of Appeals


  The Ninth Circuit has jurisdiction over this appeal pursuant to 28

U.S.C. § 1291. This appeal seeks reversal of an order granting

Defendant Securities and Exchange Commission’s Motion To Dismiss




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Complaint, which was entered by the District Court on July 28, 2023.

[1-ER-2–16] Hodl Law timely appealed that order on September 25,

2023 pursuant to Fed. R. App. P. 4(a)(1)(B)(ii); 28 U.S.C. § 2107(b)(2).

[3-ER-342–343]


   II. STATEMENT OF ISSUES PRESENTED FOR REVIEW


  There are two issues in this appeal:

  (1) Whether Hodl Law, which transacts on the Ethereum Network

and owns and uses the Ether DCU, has standing to seek declaratory

and injunctive relief that it is not violating federal law by transacting in

unregistered securities where the SEC has retracted its 2018 public

announcement that the Ethereum Network and Ether DCU are not

federal securities.

  (2) Whether the District Court erred in denying Hodl Law leave to

amend its complaint to address the First and Fifth Amendment

constitutional issues raised in its opposition to the Defendant’s motion

to dismiss, but which the District Court explicitly declined to address.


  III. STATEMENT OF THE CASE.


  “A fundamental principle in our legal system is that laws which

regulate persons or entities must give fair notice of conduct that is

forbidden or required.” F.C.C. v. Fox Television Stations, Inc., 567 U.S.




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239, 253 (2012). When presented with “officialdom unchained” the

“courts have always been vigilant” to protect against abuse. See Jones v.

Sec. & Exch. Comm’n, 298 U.S. 1, 24, 32 (1936).


      A. The Ethereum Network and Ether Digital Currency
         Unit and Hodl Law’s Use of the Same.


  Hodl Law asked the District Court to determine whether the Ether

digital currency unit (“DCU”) and Ethereum Network fall within the

ambit of the Federal Securities Act of 1933 (the “Securities Act”).

[2-ER-20] The firm is seeking judgment in a similar manner as the SEC

has asked district courts to determine in over one hundred federal cases

previously regarding other DCUs and digital asset networks. [2-ER-80]

After Bitcoin, the Ethereum Network and its native asset, the Ether

DCU, have a market capitalization in the hundred of billions of dollars.

[2-ER-20]

  Plaintiff Hodl Law is a law firm that provides legal services

regarding digital assets. [2-ER-18, 21] The firm transacts on the

Ethereum Network and uses the Ether DCU. [2-ER-20, 21, 27, 37] Hodl

Law played no role in the creation of the Ethereum Network or the

Ether DCU. [2-ER-25, 28] Consequently—and critically—Hodl Law’s

use of the Ethereum Network occurs entirely in the secondary market.




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      B. The SEC’s Behavior with respect to Digital Assets.

  For its regulatory authority over digital assets, the SEC cannot cite

any clear congressional authorization. Instead, it relies upon the

Securities Act, passed roughly eighty years before the invention of

cryptocurrency. The SEC does not contest it has never engaged in the

creation of regulations, rulemaking, or official notice-and-comment

regarding the security status of any DCU. [2-ER-27, 29, 30, 38]

Presently, the only manner in which the public can ascertain whether

the SEC believes a particular DCU is a security is when the agency files

a federal lawsuit alleging such. [2-ER-19, 37, 38]

  The Ethereum Network was created in 2015 and from its inception

was monitored by the SEC. [2-ER-24–25] From 2015 and onwards, the

SEC never issued any rulemaking or guidance on whether use of the

network and DCU constitute unregistered securities transactions—it

even permitted its employees to freely buy and sell the Ether DCU. [2-

ER-25] The SEC received thousands of inquiries from public investors
about the agency’s belief as to the security status of the Ether DCU, but

the SEC refused to answer one single request. [2-ER-25]




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          1. The SEC disclaimed the authority over the
             Ethereum Network and Ether DCU that it now
             asserts it has.

  Presently, the SEC refuses to state whether its past statements

regarding Ethereum in 2018 remain in force or whether it now

considers the network or DCU a security. [2-ER-27, 37, 38] In 2018, the

SEC publicly disclaimed jurisdiction over the Ethereum Network and

Ether DCU and stated neither were subject to securities regulation.

[2-ER-31–36] This occurred via a public, billion-dollar market-moving
speech by SEC’s Director of the Division of Corporate Finance (herein

referred to as “the Speech”), wherein the Director expressly proclaimed

“based on my understanding of the present state of Ether, the

Ethereum [N]etwork and its decentralized structure, current offers

and sales of Ether are not securities transactions
                                      transactions.” [2-ER-31–34]

Prior to its publication, that speech was circulated amongst the highest

officials at the SEC for approval. [2-ER-34–35]

  The SEC conceded to the District Court that it now considers any

decision on security status to be pending. [2-ER-54–55] It has since

disavowed the Speech and refuses to disavow application of the

Securities Act to the Ethereum Network and Ether DCU, causing one

district court to reprimand the agency for its hypocrisy:


     The hypocrisy in arguing to the Court, on one hand, that the
     Speech is not relevant to the market’s understanding of how
     or whether the SEC will regulate cryptocurrency, and on the


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     other hand, that [the SEC Division Director] sought and
     obtained legal advice from SEC counsel in drafting his
     Speech, suggests that the SEC is adopting its litigation
     position to further its desired goal, and not out of a
     faithful allegiance to the law
                                 law.

SEC v. Ripple Labs, Inc., 2022 WL 2705396, at *3 (S.D.N.Y. July 12,

2022) (emphasis added). [2-ER-36] When the inner machinations of the

SEC regarding the Speech were ordered by this same district court to be

publicly produced, it revealed substantial collaboration among the

highest ranks of SEC officials—including the then-Chair—deciding to

unequivocally greenlight an agency decision to exclude the Ethereum

Network and Ether DCU from federal securities regulation.

[2-ER-269–271]

  The SEC Office of General Counsel opined the then-Chair’s approval

of the decision to exempt Ether DCU from securities regulation would

make it “difficult for the agency to take a different position on Ether in

the future.” [2-ER-285] The deliberations made it clear that the

authorization for the Speech was provided by then-SEC Chair Clayton:

“If Bill (and/or [Chair Clayton’s] office) wants to make a blanket

statement that Ether is not a security (barring any changes of thought

based on the meeting later this week with [Ethereum creator] Buterin




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(or his counsel), we will need to discuss internally and with [senior SEC

counsel].” [3-ER-333] The Office of General Counsel even advised “the

less detail the better” for the public in the Speech. [3-ER-316]¹


          2. Congress does not accept that the SEC has the
             authority it claims.


  The present matter before this Court is critically unique precisely

because there is significant Congressional opposition to the claimed

authority by the SEC over the regulation of digital assets as securities.

To date, Congress has considered or is actively considering roughly two

dozen legislative bills, most of which would either curtail or divest SEC

authority over digital assets.² On June 6, 2023, the SEC sued the

largest digital asset exchange in the U.S. on allegations it engaged in

¹ Then-SEC Chair Clayton would go on to adopt the speech as the
SEC’s official position on Ether by publicly stating: “Our Corporate
Finance Division Director recently further outlined the approach staff
takes to evaluate whether a digital asset is a security.” [2-ER-271]
² See, e.g., Financial Innovation and Technology for the 21st Century
Act, H.R. 4763, 118th Cong. (2023), https://tinyurl.com/yc38dmjn;
Clarity for Payment Stablecoins Act of 2023, H.R. 4766, 118th Cong.
(2023), https://tinyurl.com/yc2nmpsx; Lummis-Gillibrand Responsible
Financial Innovation Act, S. 2281, 118th Cong. (2023),
https://tinyurl.com/3yx8f5hm; see also, e.g., Digital Commodity
Exchange Act of 2022, H.R. 7614, 117th Cong. (2022),
https://tinyurl.com/45cnjwyd; Digital Commodities Consumer Protection
Act of 2022, S. 4760, 117th Cong. (2022), https://tinyurl.com/bdd7r5p3;
The Token Taxonomy Act of 2021, H.R. 1628, 117th Cong. (2021),
https://tinyurl.com/bezac866; Eliminate Barriers to Innovation Act of
2021, H.R. 1602, 117th Cong. (2021), https://tinyurl.com/2mx3mt8m;
Crypto-Currency Act of 2020, H.R. 6154, 116th Cong. (2020),


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unregistered securities transactions via its facilitation of its customers’

purchase and sale of same. SEC v. Coinbase, Inc., No. 23-cv-4738, ECF

No. 1 (S.D.N.Y. June 6, 2023). The exchange filed a motion for judgment

on the pleadings that is pending decision. Id., ECF No. 36 (S.D.N.Y.

Aug. 4, 2023). On that same motion, U.S. Senator Lummis took the

extraordinary step of filing an amicus brief in support of the exchange,

arguing the SEC is not authorized by Congress with the power to

regulate digital assets. Id., ECF No. 53 (S.D.N.Y. Aug. 11, 2023) at 9

(“Congress has not conferred on the SEC wholesale regulatory power

over this industry, and accepting the SEC’s theory encroaches on

Congress’s legislative role”). Earlier this year, U.S. Senator

Hickenlooper requested the SEC Chair finally endeavor to engage in

some regulatory process: “Given the complexity of these issues, and

recognizing that some digital assets are securities, others may be

commodities . . . a formal regulatory process is needed now.” [2-ER-79]


          3. Other federal agencies do not accept that the SEC
             has the authority over the Ethereum Network and
             Ether DCU.


  Because no Congressional laws exist regarding Ethereum specifically

or digital assets in general, federal agencies have battled for turf.


https://tinyurl.com/589kheax; U.S. Virtual Currency Market and
Regulatory Competitiveness Act of 2019, H.R. 923, 116th Cong. (2019),
https://tinyurl.com/3hscvaj2.


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Earlier this year, the Chairman of the Commodity Futures Trading

Commission (“CFTC”), testified before the U.S. Senate that the CFTC

has complete jurisdiction over the Ethereum Network and Ether

DCU—not the SEC—because they are commodities, not securities.

[2-ER-114] Since at least October 10, 2019, the CFTC has asserted

jurisdiction over the Ethereum Network and Ether DCU. [2-ER-91]


          4. Other federal courts have questioned whether the
             SEC has the authority it claims.


  The SEC has sought to collaterally assert its jurisdiction over digital

assets in a variety of ways aside from direct enforcement actions. As one

example, on March 11, 2023, a federal bankruptcy judge had to

admonish SEC attorneys when the agency objected to confirmation of a

cryptocurrency exchange’s debtors’ plan because the SEC claimed the

DCU at issue, VGX, “had aspects of a security” and the rival digital

asset exchange buying Voyager Digital, could therefore have been an

unregistered securities exchange. [2-ER-116–117] The judge

exemplified the concern for the damage potential for debtors that were

created by the SEC: “I reject the contention that the Court, and the

Debtors, somehow were supposed to figure out for themselves just what

‘aspects’ of the VGX token might be considered aspects of a ‘security.’”

[2-ER-117] Judge Wiles found market participants (i.e., those in the

similar position of Hodl Law) must act “in a regulatory environment



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that at best can be described as highly uncertain,” in which

“[r]egulators themselves cannot seem to agree as to whether

cryptocurrencies are commodities that may subject to regulation by the

CFTC, or whether they are securities that are subject to securities laws,

or neither, or even on what criteria should be applied in making the

decision . . . .” [2-ER-117]


       C. When the SEC decides to attack a particular DCU for
          the first time in a lawsuit, its value declines
          immediately and substantively.


   Once the SEC targets a DCU in an enforcement lawsuit, which is

also the first time it publicly announces its opinion on the security

status of the DCU, the value of the DCU immediately and substantially

plummets on the filing. [2-ER-80]


      D. The Pleadings and The District Court’s Order
         Granting the SEC’s Motion to Dismiss.


   Hodl Law seeks declaratory and injunctive relief enjoining the SEC

from asserting its limited jurisdiction under the Securities Act

regarding Hodl Law’s use of the Ethereum Network and Ether DCU.

[2-ER-21] The SEC only contested Hodl Law’s Complaint on Fed. R.

Civ. P. 12(b)(1) grounds. [2-ER-45] The District Court held that “the

Court finds no case or actual controversy in the present matter,

therefore, declaratory judgment is not warranted. In light of the



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speculative nature of Plaintiff’s claims, the Court concludes that no

modified contention ‘consistent with the challenged pleading . . . [will]

cure the deficiency,’ therefore the motion to dismiss is granted without

leave to amend.” [1-ER-15] The District Court held “Plaintiff fails to

allege an injury in fact or a realistic danger of suffering direct injury as

a result of Defendant’s conduct.” [1-ER-7]

  In the context of the Speech, the District Court determined “there is

no final action that is effective and final as to Hodl Law regarding the

status of the DCU’s in question as illustrated by the fact that the SEC

announced in a speech that Ethereum Network and Ether DCU’s are

excluded from reach of the SEC as securities yet the SEC files

numerous lawsuits asserting that DCU’s are securities.” [1-ER-11]

Instead, the District Court decided that the SEC’s internal discussions

that resulted in the Speech’s authorization “are commentary that

illustrate the ongoing confusion surrounding the status of

cryptocurrencies as securities and demonstrates the need for the SEC to

issue definitive guidance rather than approaching the issue in

piecemeal litigation.” [1-ER-12]


  IV. SUMMARY OF THE ARGUMENT.


  The Defendant has been criticized for its regulation-by-lawsuit

approach regarding digital assets by other Circuit Courts of Appeal, by

the District Court, by other district courts across the country, by sister


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federal agencies and by sitting U.S. Congressional members. The

randomness and unpredictability in the manner in which the SEC

attacks various blockchain networks is strikingly unfair to those who

are the networks’ users, such as Hodl Law. This is not an acceptable

regulatory approach for an emerging technology and asset class and the

SEC has never sought to regulate any asset class in its history in this

way—no rules, no formal guidance, nothing but lawsuits.

   The Defendant has launched multiple enforcement actions against

parties in similar positions as Hodl Law. The only difference in the

present case is that Hodl Law has the temerity to offensively seek

declaratory relief against an untethered federal agency instead of

defensively waiting to be sued. Whether a U.S. citizen and/or business

entity has standing to seek judicial relief against a federal agency on

the same grounds that same agency exclusively relies upon in the

context of its asserted regulatory authority (i.e., filing lawsuits) is the

question before this Court.


   V. ARGUMENT.


   “The purpose of the Declaratory Judgment Act is ‘to relieve potential

defendants from the Damoclean threat of impending litigation which a

harassing adversary might brandish, while initiating suit at his

leisure—or never.” Hal Roach Studios, Inc. v. Richard Feiner & Co.,

Inc., 896 F.2d 1542, 1555 (9th Cir. 1989) (citation omitted). “What is


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litigated in such a situation is ‘the precise issue which could have been

litigated in federal court in a coercive action brought by’ the declaratory

defendant.” Lowe v. Ingalls Shipbuilding, A Div. of Litton Sys., Inc., 723

F.2d 1173, 1179 (5th Cir. 1984), quoting Wright, Miller & Kane, Federal

Practice and Procedure: Civil 2d § 2767 at 740. It need only be shown

that the declaratory relief defendant could bring such a claim, not that

it necessarily will do so. See Standard Ins. Co. v. Saklad, 127 F.3d 1179,

1181 (9th Cir. 1997) (in a “classic case” the court “can reposition the

parties in a declaratory relief action by asking whether [the court]

would have jurisdiction had the declaratory relief defendant been a

plaintiff seeking a federal remedy”).

  Hodl Law stands in the same class as other U.S. users of the

Ethereum Network: subject to constant public threats and harassment

from the SEC about digital assets in which ‘following the lawsuits’ is

the SEC’s admitted method of asserting its self-proclaimed authority

over the industry. [2-ER-78]


      A. The Standard Of Review is De Novo For Both Issues.


  The District Court ruled that “Hodl Law fails to identify a case or

controversy between it and the SEC sufficient to demonstrating

standing.” [1-ER-6] Seemingly important in the District Court’s

reasoning was that it was only a “possibility” that the SEC might attack

the firm in its next regulation-by-lawsuit target and was not persuaded


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by the agency’s history of using lawsuits as its sole vector for asserting

its regulatory authority. [1-ER-6] The District Court recognized no

authority exists “compelling Defendant to engage in specific

rulemaking, pursue specific regulator approaches, or respond to private

parties’ request for guidance” but used that evidence against a finding

in favor of Hodl Law. [1-ER-6]

   The Ninth Circuit will “review de novo a district court’s dismissal for

lack of standing, construing all material allegations in favor of the

plaintiff.” Colwell v. Dep’t of Health & Human Servs., 558 F.3d 1112,

1121 (9th Cir. 2009) (citation omitted). The Court will “also review de

novo a district court’s dismissal for lack of ripeness.” Id. (citation

omitted). Therefore, this Court should examine the issue of standing

afresh under the de novo standard of review.

   Additionally, the District Court acknowledged that Hodl Law argued

“that enforcement against Hodl Law’s secondary use of the Ethereum

Network and Ether DCU violates its First and Fifth Amendment rights

because it uses the Network and DCU in engaging in constitutional

protected speech in a digital metaverse, and that the SEC’s practice of

filing a lawsuit which drives down the value of DCU’s constitutes a take

of the value of the DCU.” [1-ER-9–10] The District Court chose not

address Hodl Law’s constitutional arguments, however, because

“Plaintiff did not raise these arguments in the Complaint, therefore, the

Court does not address them here.” [1-ER-10] Although Hodl Law


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sought leave to amend the Complaint “to satisfy any concerns of the

Court, such as . . . the constitutional issues presented by such uses,”

[2-ER-96] the District Court denied leave to amend the Complaint.

[1-ER-15–16]

  While the denial of leave to amend is reviewed for an abuse of

discretion, this Court must review the question of futility of amendment

de novo. See Cohen v. ConAgra Brands, Inc., 16 F.4th 1283, 1287 (9th

Cir. 2021); Wochos v. Tesla, Inc., 985 F.3d 1180, 1197 (9th Cir. 2021).


      B. The District Court Erred In Holding Hodl Law Does
         Not Have Standing Under This Circuit’s “Firm
         Prediction” Rule.


  “The constitutional ripeness of a declaratory judgment action

depends on whether the facts alleged, under all the circumstances, show

that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the

issuance of a declaratory judgment.” In re Coleman, 560 F.3d 1000,

1005 (9th Cir. 2009) (cleaned up). See also California Pro-Life Council,

Inc. v. Getman, 328 F.3d 1088, 1093–94 (9th Cir. 2003) (“Whether we

frame our jurisdictional inquiry as one of standing or ripeness, the

analysis is the same”).




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  When there is a substantial risk that injury will occur to the plaintiff

due to the declaratory defendant’s actions, a “controversy” sufficient to

necessitate declaratory relief may be found in this Circuit under the

“firm prediction” rule:


     [I]f . . . ‘the court can make a firm prediction that the
     plaintiff will apply for the benefit, and that the agency will
     deny the application by virtue of the rule,’ then by logical
     extension the controversy may be ripe although the plaintiff
     has not yet applied and been denied, and also does not fall
     within either of the two exceptions to the ripeness rule.


Immigrant Assistance Project of Los Angeles Cnty. Fed’n of Labor (AFL-

CIO) v. INS, 306 F.3d 842, 861 (9th Cir. 2002), quoting Reno v. Catholic

Soc. Servs., Inc., 509 U.S. 43, 69 (1993) (O’Connor, concurring). In

Immigration Assistance Project, the Ninth Circuit held that certain

plaintiffs’ claims were ripe under the firm prediction rule. Immigration

Assistance Project, 306 F.3d at 862. There, the plaintiffs sought

declaratory relief regarding a government agency’s immigration

practices. Id. The court held the first prong was met—the court could

firmly predict that the plaintiff will apply for a benefit—because the

plaintiffs “did, in fact, apply.” Id. (emphasis in original). The second

prong also was met—the court could firmly predict that the agency will

deny the application by virtue of the challenged rule—because the

plaintiff’s request would almost assuredly be denied. Id.




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   Although there are not a substantial number of opinions that deeply

analyze the “firm prediction” rule, the case of Chang v. United States,

327 F.3d 911 (9th Cir. 2003) is helpful. There, this Circuit applied the

rule, affirming the district court’s determination that plaintiffs’ claims

were ripe for review because “the INS has already failed to act upon

Plaintiffs’ [ ] petitions . . . It is undisputed that Appellants’ [ ] petitions

will be rejected if the standards of the precedent decisions are applied to

them.” Id. at 922. Here, although the pathway is different the result is

the same: Despite petitioning the SEC for an answer (though not an

‘application’ because none exist) the SEC has chosen to force Hodl Law

to wait in perpetuity as it will never give an answer to the question.

[2-ER-37] At the same time, the SEC reserves the right to civilly and

criminally charge Hodl Law at its leisure. [2-ER-38]

   Unlike in Chang, there are no statutes, no regulations, and no formal

policy statements that allow any member of the public to ascertain the

SEC’s secret position on whether any digital asset—let alone the

Ethereum Network or Ether DCU—are federal securities in the

agency’s eyes. [2-ER-37–38] Thus, the SEC can argue that Hodl Law

has no standing because, if the SEC claims jurisdiction but never

reveals its interpretations until it springs a lawsuit, Hodl Law or any

other public entity can never have standing. But, in keeping with the

intent of Chang and even Catholic Social Services, the SEC has

unambiguously demonstrated that the only way it will provide public


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guidance is through federal litigation. In fact, the SEC recognizes the

only way it can assert its purported authority is by ‘testing’ it via

litigation in the district courts. See, e.g., Deaton, et al. v. SEC, Case No.

1:21-cv-00001, ECF No. 11 at 12 (D. R.I. Mar. 5, 2021) (SEC conceding

its enforcement lawsuits regarding whether DCUs are securities under

federal law represent the “exclusive
                           exclusive method for testing the validity of

the [SEC’s allegations a DCU is used as a security]”) (emphasis added).


          1. Lack of enforcement against Hodl Law is not
             determinative of standing and the SEC’s prior
             enforcement actions demonstrate the danger to
             Hodl Law.


   The District Court held that Hodl Law failed to identify a case or

controversy between it and the SEC because “Plaintiff does not claim

that the SEC has investigated the Firm, or prosecuted it, but instead

alleges that the SEC might bring suit against it for its activity on the

Ethereum Network for violating securities laws.” [1-ER-6–7] The

District Court reduced Hodl Law’s multiple illustrations of the SEC

targeting various individuals and companies with ad hoc enforcement

lawsuits to just one example in support of its decision: The “Wahi [case]

indicates nothing more than what Plaintiff asserts, that the SEC is

filing lawsuits against individuals trading in crypto under the

Securities Act.” [1-ER-7] The District Court erred for two reasons. First,

there is no way to know if the SEC has investigated or is investigating



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Hodl Law because such evidence is unknowable due to the SEC’s

fiercely guarded deliberative process privilege. See, e.g., SEC v. Ripple

Labs, Inc., 2023 WL 3477552, at *3 (S.D.N.Y. May 16, 2023) (describing

lengthy fight by SEC to keep the Speech documents hidden from public

disclosure under deliberative process privilege).

  Second, the initiation of a prosecution by a federal agency is not

determinative under a standing analysis. “The Supreme Court and this

court have often emphasized that, when plaintiffs seek to establish

standing to challenge a law or regulation that is not presently being

enforced against them, they must demonstrate a realistic danger of

sustaining a direct injury as a result of the statute’s operation or

enforcement.” LSO, Ltd. v. Stroh, 205 F.3d 1146, 1154 (9th Cir. 2000)

(citation omitted) (reversing court’s granting of motion to dismiss,

holding plaintiff had standing to seek declaratory relief against state

agency). The District Court recognized that “[b]ecause the SEC is

challenging the factual basis of Plaintiff’s standing, the Court may

review evidence beyond the complaint.” [1-ER-4–5] It did not, however,

seemingly recognize (or at least appreciate) the first-of-its-kind factual

circumstances regarding the undisputable lack of regulatory clarity

posed by digital assets. “It is well settled that evidence of past instances

of enforcement is important in a standing inquiry.” LSO, Ltd., 205 F.3




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at 1155. The District Court centered on only one of the enforcement

actions raised by Hodl Law but failed to appreciate the hundreds of

enforcement actions taken by the SEC. [1-ER-7]

  Hodl Law emphasizes that this Court should appreciate that the

public investor was only alerted to the SEC’s position that the following

DCUs were considering “crypto asset securities”³ by the agency on the

day the SEC filed the lawsuit alleging they were such:


  • AMP, RLY, DDX, XYO, RGT, POWR, DFX, KROM [2-ER-19,
    83]
  • ADA, AXS, ALGO, ATOM, CHZ, COTI, DASH, FIL, FLOW,
    ICP, MANA, MATIC, NEAR, OMG, SAND and SOL. See
    SEC v. Payward, Inc., et al., Case No. 3:23-cv-06003, ECF
    No. 1, Complaint ¶ 58 (N.D. Cal. Nov. 20, 2023) (citing SEC
    v. Bittrex, No. 2:23-cv-580 (W.D. Wash April 17, 2023), SEC
    v. Binance Holdings Ltd., Civ. No. 23–1599 (D.D.C. June 5,
    2023) and SEC v. Coinbase, Inc., No. 23-cv-4738 (S.D.N.Y.
    June 6, 2023)

The SEC impliedly concedes that Hodl Law is under “substantial risk”

and “realistic danger” of injury when it admits such enforcement actions

are concreate examples of the policy of regulation-by-lawsuit. [2-ER-51]

In another case, the SEC indicated to the district court it has outright

authority over the Ethereum Network because the network may have

operating nodes in the U.S. [2-ER-27, 83]


³ The term “crypto asset security” exists nowhere in federal statute or
regulation and is a term invented by the SEC solely for its enforcement
actions.


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  Importantly, where cases brought by the SEC are litigated to

conclusion, Appellant’s counsel is unaware of a district court that has

held the DCU itself—the intrinsic computer code, not how it may be

initially packaged and sold—is a security under federal law. See, e.g.,

SEC v. Ripple Labs, Inc., 2023 WL 4507900 (S.D.N.Y. July 13, 2023)

(denying majority of SEC’s summary judgment motion while granting

majority of defendant company’s motion, holding third-largest DCU by

market capitalization is not inherently a security: “XRP, as a digital

token, is not in and of itself a ‘contract, transaction or scheme’ that

embodies Howey requirements of an investment contract”). See also

SEC v. Telegram Grp., Inc., 448 F. Supp.3d 352, 379 (S.D.N.Y. 2020)

(“While helpful as a shorthand reference, the security in this case is not

simply the Gram [DCU]
                [DCU], which is little more than alphanumeric

cryptographic sequence”) (emphasis added).

  When a plaintiff has not been prosecuted or fined and a defendant

agency claims the action is unripe, the Court considers “(1) whether the

plaintiff has articulated a concrete plan to violate the law in question;

(2) whether the prosecuting authorities have communicated a specific

warning or threat to initiate proceedings; and (3) the history of past

prosecution or enforcement under the challenged statute.” Wolfson v.

Brammer, 616 F.3d 1045, 1058 (9th Cir. 2010) (citation omitted). See

also Stormans, Inc. v. Selecky, 586 F.3d 1109, 1124 (9th Cir. 2009)

(ripeness met for declaratory judgment action where state department


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of health had yet to enforce rules against plaintiff but threat of job loss

constituted “sufficient immediacy and reality”). Here, the very nature of

how the SEC asserts its self-granted authority to regulate digital assets

vis-à-vis filing enforcement lawsuits is per se proof of Hodl Law’s

articulation of concrete plan to violate the law in question. Because the

only way any entity can know if a network and DCU are securities in

the SEC’s eyes cannot occur unless and until the SEC sues it, Hodl Law

is violating the Securities Act merely by transacting on the Ethereum

Network and using the Ether DCU (based the SEC’s allegations in all

its previous regulation-by-lawsuit cases). The Chair of the SEC has

been undeniably clear that everything other than the Bitcoin DCU is a

security and “the runway is getting short” for market participants to

“register” with the SEC. [2-ER-78, 81]

   To punctuate the SEC’s approach, on November 20, 2023, the SEC

filed another major regulation-by-lawsuit enforcement action against

one of the largest DCU exchanges in the U.S. See SEC v. Payward, Inc.,

Case No. 3:23-cv-6003, ECF No. 1 (N.D. Cal. Nov. 20, 2023). The SEC

alleged sixteen DCUs on the exchange were securities under the

Securities Act. Id. at ¶ 58. The SEC’s authority for alleging these DCUs

to be securities, it told the district court, is because it alleged they were

securities in other enforcement cases it brought in other jurisdictions. Id.

The SEC’s circular logic, and complete disregard for rule promulgation




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and fair notice, led U.S. Senator Lummis (who filed an amicus brief

against the SEC in the Coinbase enforcement action) to issue a response

to this lawsuit that:


     The SEC cannot continue ruling by enforcement. Crypto
     asset companies have repeatedly tried to get guidance from
     the SEC only to be hit with enforcement actions, causing
     unnecessary harm to consumers. It is time for Congress to
     pass a regulatory framework to provide clear rules to the
     SEC on what is a security and what is a commodity.⁴


After nearly nine years of the Ethereum Network being operational and

in use, and after five years of the SEC’s public statements that the

Ethereum Network and Ether DCU were not securities subjection to

regulation [2-ER-25, 34–35], the SEC cannot provide a credible answer

to the following: How can the SEC claim it has been unable to find the

time to issue one rule or regulation about Ethereum when it has been

filing hundreds of enforcement actions involving digital assets? Given

these factual circumstances, the Court should “firmly predict” with

great confidence that SEC will continue to deny Hodl Law the benefit of

knowing whether its use of the Ethereum Network and Ether DCU

violate the Securities Act. Hodl Law has no other alternatives to ensure

its actions do not break the law outside of seeking declaratory relief.

[2-ER-37, 38]

⁴ X.com, U.S. Senator Cynthia Lummis, available at
https://twitter.com/SenLummis/status/1726768494069354545 (last
accessed Nov. 21, 2023)


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  Hodl Law seeks relief on the same footing the SEC uses to

promulgate rules on which DCUs it feels are securities—federal court.

Yet, because of this regulation-by-lawsuit approach, Hodl Law finds

itself caught in a netherworld of standing that represents an issue of

first impression for the Circuit: A federal agency that claims jurisdiction

over a trillion-dollar asset class while simultaneous acknowledging it

has not (over the past decade or for the foreseeable future) engaged in

any of its rule-making obligations to reveal how it will regulate the

industry aside from lawsuits. The SEC’s behavior is occurring against

the backdrop of its claimed jurisdiction being publicly and bitterly

contested by Congress, the courts and other federal agencies. As the

history of past prosecution and enforcement actions by the SEC with

respect to digital assets demonstrates that the only way a market

participant can achieve regulatory clarity from the SEC is to be sued by

it, every element towards standing and ripeness in Wolfson is

demonstrably met. See also, e.g., Kiser, 765 F.3d at 609 (allegations of

future threat of enforcement by state dental board supported injury in

fact element for Article III standing in request for declaratory relief);

LSO, Ltd., 205 F.3d at 1156 (reversing district court, holding plaintiff

had standing in declaratory action against state alcohol department due

to “realistic threat” based on department’s enforcement history and

resultant suppression of its freedom of expression); McAllen Grace

Brethren Church v. Salazar, 764 F.3d 465, 470–71 (5th Cir. 2014)



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(plaintiffs had standing for declaratory relief against federal

department’s enforcement of federal law despite not having been

formally denied laws’ benefits because any attempt to apply for relief

“would have been futile”); Fordyce v. City of Seattle, 55 F.3d 436, 440

(9th Cir. 1995) (plaintiff had standing to challenge statute that had yet

to be applied to him and “concrete controversy” existed because plaintiff

was “uncertain and insecure” regarding his rights and statute casted a

“brooding presence” that adversely affected his legitimate interests as a

citizen).


            2. The SEC has consistently failed to disavow
               application of the Securities Act to the Ethereum
               Network and Ether DCU.


   “Courts have also considered the Government’s failure to disavow

application of the challenged provision as a factor in favor of a finding of

standing.” LSO, Ltd., 205 F.3 at 1155. The SEC has failed to disavow

application of the Securities Act to the Ethereum Network despite

hundreds (if not thousands) of requests. [2-ER-36–37] Over five years

ago, in 2018, the SEC underwent a substantial internal review of

whether to publicly state its views on whether the Ethereum Network

and Ether DCU would be considered securities under federal law.

[2-ER-31–36, 269–271, 285, 316, 333] This review, authorized by the

then-Chair himself, culminated in the Speech. Admittedly, SEC staff




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and counsel—in communications staff never thought would become

public and in which the SEC bitterly fought to withhold in litigation in

the S.D.N.Y.—deliberately adopted a method of “the less detail the

better” in its chosen route of communication to the American public.

[3-ER-316] The then-Chair would go onto to provide public interviews

extolling the Speech as official SEC guidance on the question of

Ethereum. [2-ER-271] Hodl Law’s suit for declaratory relief has, simply

by its filing, caused the SEC to take a position via its motion to dismiss

that, in fact, the Speech is no longer the official position of the agency

on the question of Ethereum. [2-ER-52–53]


      C. First and Fifth Amendment Violations Also Provide
         Hodl Law With Standing.


  “[W]hen the threatened enforcement effort implicates First

Amendment rights, the inquiry tilts dramatically toward a finding of

standing.” LSO, Ltd., 205 F.3 at 1155. See also Kiser v. Reitz, 765 F.3d

601, 609 (6th Cir. 2014) (citation omitted) (holding plaintiff possessed

standing for declaratory relief where state regulatory body’s behavior

constituted credible enforcement threat). The District Court

acknowledged Hodl Law argued both a First and Fifth Amendment

violation of its constitutional rights in its standing claim but chose not

to address those arguments for lack of explicit raising of them in the

Complaint. [1-ER-9–10] One of Hodl Law’s uses of the Ethereum



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Network and Ether DCU is engaging in constitutionally protected

commercial speech in a digital metaverse on an Ethereum Network-

based application. [2-ER-21, 37] Unlike actual securities under the

Securities Act, blockchain networks incorporate both monetary

functions (storing and transferring value) and informational, expressive

functions (communicating and displaying ideas, concepts and designs).

These networks, by the nature of blockchain technology, require the use

the network’s cryptographic token/DCU to transact and use the

network’s benefits. [2-ER-22–24]

  Additionally, historical evidence demonstrates that when the SEC

decides to publicly state a DCU is a security in its opinion, that public

statement occurs for the first time via a lawsuit. Unsurprisingly, such

an “announcement” causes the DCU to substantially drop in value and

remain suppressed during the pendency of the suit. [2-ER-80]

Consequently, Hodl Law’s imminent harm stems from the SEC’s taking

of that value based on its history of seeking injunctive and

disgorgement relief based on transactions involving DCUs. See, e.g.,

Eastern Enters. v. Apfel, 524 U.S. 498, 521 (1998) (“the Declaratory

Judgment Act ‘allows individuals threatened with a taking to seek a

declaration of the constitutionality of the disputed governmental action

before potentially uncompensable damages are sustained’”) quoting

Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 71

(1978).


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      D. Hodl Law’s Complaint is not only constitutionally ripe
         for adjudication, but also prudentially ripe.


   “Though a concrete case or controversy [may be] present, we also

evaluate whether we should decline to exercise jurisdiction on the bases

of two interrelated factors: ‘the fitness of the issues for judicial decision

and the hardship to the parties of withholding court consideration.’”

Stormans, 586 F.3d at 1126 (citation omitted). Meeting only one factor,

however, is sufficient for a finding of prudential ripeness: “Hardship

serves as a counterbalance to any interest the judiciary has in delaying

consideration of a case.” Oklevueha Native Am. Church of Hawaii, Inc.

v. Holder, 676 F.3d 829, 838 (9th Cir. 2012) (citation omitted) (declining

to evaluate hardship factor after finding fitness for review in light of

history of past enforcement behavior of federal agency).


          1. The fitness of the issue for review necessitates
             judicial decision.


   “‘A claim is fit for decision if the issues raised are primarily legal, do

not require further factual development, and the challenged action is

final.’” Stormans, 586 F.3d at 1126 (finding plaintiffs’ claims fit for

decision because whether plaintiff’s refusal to abide by rule regarding

contraceptive dispensation was primarily legal and not hypothetical).

See also, e.g., Havasupai Tribe v. Provencio, 906 F.3d 1155, 1163 (9th

Cir. 2018) (“We therefore focus on both the ‘practical and legal effects of



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the agency action,’ and define the finality requirement ‘in a pragmatic

and flexible manner’”) (citation omitted). The District Court

acknowledged that “[w]hile it is true that the determination of finality

does not rest on the issuance of a command by an agency, the Court

must take into account of the practicalities of the agency action,

determining whether the agency action is effective and final as to the

aggrieved part.” [1-ER-10] Despite this recognition, the District Court

erred in finding that “the SEC’s actions do not constitute a final agency

action sufficient to establish that the claim is ripe.” [1-ER-10] Although

the District Court was provided the judicially-ordered Speech

deliberations, it decided “they do not illustrate an evaluative process

yielding a sufficient record ‘to enable judicial review.’” [1-ER-12] The

District Court made this determination despite those documents

showcasing the deep analysis among every high-level department head

at the SEC,⁵ culminating in the decision to publicly announce that

Ethereum and the Ether DCU were not securities (approved by the

SEC’s General Counsel and then-Chair). [2-ER-31–36, 269–271, 285,

316, 333] Instead, the District Court described the executive-level

deliberations regarding the Speech as “illustrat[ing] the ongoing

⁵ These high-level employees represented the SEC’s: (1) Division of
Enforcement; (2) Division of Corporate Finance; (3) Division of Trading
and Markets; (4) Office of Small Business Policy; (5) Senior Advisors to
the Commissioners; (6) Office of the Strategic Hub for Innovation and
Financial Technology (FinHub); (7) Disclosure Review and Accounting
Office; and (8) the Office of General Counsel. [2-ER-85]


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confusion surrounding the status of cryptocurrencies as securities and

demonstrate[ing] the need for the SEC to issue definitive guidance

rather than approaching the issue in piecemeal litigation.” [1-ER-12]

   Oklevueha is also instructive. There, a chapter of the Native

American Church sought declaratory relief that the federal

government’s seizure of marijuana it would use in future religious

ceremonies was unlawful and the Controlled Substances Act (“CSA”)

could not be enforced against it. Oklevueha, 676 F.3d at 834. In

reversing the district’s court holding that the case was not fit for review,

this Court held that prior enforcement actions presented a concrete

example of likely future injury; that ripeness was not lost just because

plaintiffs did not seek an exemption under the CSA; and that the

government’s claims about the alleged difficulty of crafting injunctive

relief was not a factor in evaluating fitness for review because the scope

of any injunctive relief could be determined at a later phase of

litigation. Id. at 838.

   Similarly, Hodl Law has demonstrated that the SEC has engaged in

over one hundred enforcement actions and has only increased the pace

of lawsuits. Not only is an attempt at exemption from the Securities Act

not required, Hodl Law has attempted to get clarity from the SEC only

to be ignored. [2-ER-37] The SEC has never provided an exemption to

any user of a digital asset network and DCU on the secondary market.

For the entire decade-plus existence of the digital asset industry, the



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SEC cannot even point to a single method available to Hodl Law to

receive an answer to its questions regarding the agency’s actual beliefs

over its authority to regulate the Ethereum Network and Ether DCU.

  Essentially, the Court must decide whether the SEC’s clear decision

to simply never engage in any formal policy decision-making on

Ethereum may permanently immunize it from ever being subject to a

party seeking declaratory relief. The Court should decide that waiting

for formal rulemaking or “final agency action” from the SEC is a

pointless endeavor. There is no mechanism at all for an entity to

prospectively ascertain the SEC’s subjective beliefs on a DCU before the

agency files a lawsuit. See Skyline Wesleyan Church v. California Dep’t

of Manage Care, 968 F.3d 738, 753 (9th Cir. 2020) (reversing district

court, finding fitness for review in part because state agency could not

identify “any case in which a party that was already injured was

required to navigate the type of ill-defined terrain [plaintiff] would have

faced to ripen its claim in the way the [agency] argues”).


          2. Hodl Law faces significant hardship without a
             judicial decision.


  “‘To meet the hardship requirement, a litigant must show that

withholding review would result in direct and immediate hardship and

would entail more than possible financial loss.’” Stormans, F.3d at 1126

(citation omitted). In Stormans, the hardship factor was “certainly met,



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because unless [plaintiffs] prevail in this litigation, they will suffer the

very injury they assert—they will be required to dispense

[contraceptives] over their religious and moral objections.” Id. The

Supreme Court has “permitted pre-enforcement review under

circumstances that render the threatened enforcement sufficiently

imminent.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)

(“denying prompt judicial review would impose a substantial hardship

on petitioners, forcing them to choose between refraining from core

political speech . . . or engaging in that speech and risking costly

Commission proceedings and criminal prosecution”). See also Full Circle

of Living & Dying v. Sanchez, 2020 WL 771420, at *4 (E.D. Cal. Dec. 29,

2020) (finding hardship satisfied where “[Plaintiff] would be forced to

choose between continuing established operations as it has conducted

them for several years and risking fines or withholding services”); Doe

v. Aetna, Inc., 2016 WL 1028363, at *3 (S.D. Cal. Mar. 15, 2016)

(hardship prong met where insurer’s planned policy change would affect

plaintiffs’ health and privacy concerns regarding prescriptions).

  Past enforcement actions show that enforcement actions by the SEC

immediately act to dramatically reduce the value of the DCU targeted.

[2-ER-80] The value of Hodl Law’s Ether DCU and its ability to transact

on the Ethereum Network would be substantially impaired, if not

altogether wiped out, if the SEC subjectively decides to file an

enforcement action. [2-ER-21, 38] Yet, aside from the purely financial


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damage, Hodl Law faces reputational damage including the potential

for its lawyers to be sanctioned by the State Bar. [2-ER-90] This

additional damage stems from Hodl Law’s use of the Ether DCU to

purchase digital property to offer legal services in the metaverse, build

its brand and strengthen its reputation as a digital asset-based firm.

[2-ER-86, 89–90] The inherent smart contract functionality built into

the Ethereum Network forms a basis for the transactional practice of

law by the firm. [2-ER-90] On any given day that the whims of the SEC

blow in the direction of filing an enforcement action alleging the

Ethereum Network and Ether DCU to be securities, the lawyers at Hodl

Law would be immediately at risk of significant state bar disciplinary

action for violating federal law. [2-ER-90] Simply utilizing the Ether

DCU for client payments, or acting as custodian for clients’ digital asset

property, would expose the firm’s attorneys to career-ending sanctions.

[2-ER-90] The SEC’s statements and actions demonstrate Hodl Law has

no reasonable assurance it will not be investigated or subject to future

enforcement actions. Considering the economic, reputational and even

career-ending damage possible, the Court should find the hardship

factor “certainly met” here.




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      E. APA Does Not Apply Because, Under the Major
         Questions Doctrine, the SEC has no jurisdiction over a
         software network.


  The District Court erred in failing to consider Hodl Law’s challenge

to the SEC’s jurisdiction under the Major Questions Doctrine although,

to its credit, it did admit that internal SEC communications regarding

the status of the Ethereum Network and Ether DCU “illustrate the

ongoing confusion surrounding the status of cryptocurrencies as

securities and demonstrate the need for the SEC to issue definitive

guidance rather than approaching this issue in piecemeal litigation.”

[1-ER-12] The SEC readily concedes it has never engaged in any

regulatory process on Ethereum under the guise of enforcing any

Congressional mandate. [2-ER-55, 56] One U.S. Senator went to the

extraordinary measure of filing an amicus brief in another SEC

enforcement action to directly argue to the district court that the SEC

has no mandate in its quest for federal regulatory market share in the

digital asset industry. SEC v. Coinbase, Inc., No. 23-cv-4738, ECF No.

53 (S.D.N.Y. Aug. 11, 2023) at 10 (“Both pillars of the major questions

doctrine favor judicial caution here: (1) there is vast economic and

political significance to the SEC’s assertion of authority to define crypto

assets as securities, and (2) Congress did not speak clearly to confer

such power on the SEC”). The SEC has disregarded any pretense of

engaging in a regulatory process with Ethereum—and digital assets



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generally—in its regulation-by-lawsuit behavior. It now deigns to accept

that a person or entity such as Hodl Law has challenged the SEC by

using its own tactics against it.

  Simply put, the SEC has no jurisdiction over Hodl Law’s use of the

Ethereum Network and that is precisely the point that underlies why

judicial review is necessary. The Supreme Court held a federal agency’s

claim of an “[e]xtraordinary grant[] of regulatory authority” requires

“clear congressional authorization.” West Virginia v. EPA, 142 S.Ct.

2587, 2609 (2022). In West Virginia, the Supreme Court held the

petitioner States had standing so long as the threat of injury from the

EPA’s claimed authority remained a possibility. Id. at 2606–07 (“there

can be ‘little question’ that the [agency’s] rule does injure the States,

since they are ‘the object of’ its requirements that they more stringently

regulate power plant emissions within their borders”) (citing Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561–562 (1992). As has been

demonstrated by its prior enforcement actions and current behavior, the

SEC claims jurisdiction over the trillion-dollar-plus digital asset

industry—of which the Ethereum Network is measured in the

“hundreds of billions” [2-ER-20]—yet cannot point to single federal

statue authorizing such a claim beyond the ninety-year-old Securities

Act. “[A]n agency must point to clear congressional authorization when

it seeks to regulate a significant portion of the American economy.” West




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Virginia v. EPA, at 2621 (Gorsuch, J., concurring) (collecting cases). See

also Biden v. Nebraska, 143 S.Ct. 2355, 2372–73 (2023) (noting a $50

billion economic impact implicated doctrine in previous cases).

  The major questions doctrine is to be most strongly applied where an

agency decides to claim authority it earlier proclaimed it lacks. See

Biden v. Nebraska, 143 S.Ct. at 2372–73 (“Under the Government’s

reading of the HEROES Act, the Secretary [of Education] would enjoy

virtually unlimited power to rewrite the Education Act” and such self-

aggrandizing “is staggering by any measure”) (citing West Virginia v.

EPA, 142 S.Ct. at 2608); FDA v. Brown & Williamson Tobacco Corp.,

529 U.S. 120, 159–60 (2000) (“we are obligated to defer not to the

agency’s expansive construction of the statute, but to Congress’

consistent judgment to deny the FDA this power” in case where “the

FDA has now asserted jurisdiction to regulate an industry constituting

a significant portion of the American economy”).

  In its motion to dismiss, the SEC argued it has “not issued final

decisions about the Ethereum network and Ether” despite the passage

of nearly ten years without any proposed rules or policy guidance.

[2-ER-54–55] This is directly opposite of the agency’s 2018 Speech

stating the Ethereum Network and Ether DCU are not securities.

[2-ER-29–34, 35] When a federal magistrate judge ordered the SEC to

hand over internal emails about its Ethereum machinations, she

chastised the SEC for its “hypocrisy…suggest[ing] that the SEC is


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adopting its litigation positions to further its desired goal, and not out

of faithful allegiance to the law.” SEC v. Ripple Labs, Inc., 2022 WL

2705396, at *3. In opposing Hodl Law’s attempt at seeking bare

minimum regulatory clarity, the SEC contradicts its years-long position

it lacks the very authority it now claims. In May 2021, the SEC Chair

conceded the SEC lacked broad regulatory authority over digital assets,

testifying before Congress that “only Congress” could resolve the

regulatory gap concerning the industry.⁶ On January 20, 2023, one

Commissioner proclaimed “if we seriously grappled with the legal

analysis and our statutory authority, . . . we would have to admit that

we likely need . . . more clearly delineated, statutory authority to

regulate certain crypto tokens. . . .”⁷ At numerous congressional

hearings, when asked directly whether the SEC has decided—after

nearly a decade of the Ethereum Network’s existence—if the Ether

DCU is a security, the Chair refuses to even tell Congress.⁸ The SEC



⁶ Game Stopped? Who Wins and Loses When Short Sellers, Social
Media, and Retail Investors Collide, Part III, Hr’g Before the U.S. H.
Fin. Servs. Comm., 117th Cong. 12 (May 6, 2021) (statement of SEC
Chair Gary Gensler), https://tinyurl.com/mtrnkbn2.
⁷ Hester M. Peirce, Comm’r, SEC, Outdated:Remarks Before the
Digital Assets at Duke Conference (Jan. 20, 2023), https://www.sec.gov/
news/speech/peirce-remarks-duke-conference-012023.
⁸ U.S. House Financial Services Committee, Oversight of the Securities
and Exchange Commission (April 18, 2023) (beginning at 43:14 through
47:00), available at https://www.youtube.com/
watch?v=DmipafFCli0&t=1s


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does not have any jurisdiction over commodities and CFTC has stated

on numerous occasions that the Ethereum Network and Ether DCU are

commodities, not securities. [2-ER-91, 114]

  The SEC claims authority despite no Congressional mandate while

simultaneously refusing to tell anyone—be it Congress or the public at

large—anything about any limits or contours of its purported authority.

Its refusal to engage in any rulemaking resulted in the D.C. Circuit

Court of Appeals holding the agency’s denial of a digital asset spot ETF

“was arbitrary and capricious because the Commission failed to explain

its different treatment of similar [futures] products.” Grayscale

Investments, LLC v. Securities and Exchange Commission, 82 F.4th

1239, 1242 (D.C. Cir. 2023); id. at 1252 (“In the absence of a coherent

explanation, this unlike regulatory treatment of like products is

unlawful”). SEC rulemaking would at least provide Hodl Law and the

public at large some certainty in that it be provided in advance and

presumably equally applied to all. Instead, the SEC only pursues

regulation-by-litigation.

  Consequently, given the statements of both branches of Congress as

well as other federal agencies like the CFTC to the contrary, it is clear

the SEC has asserted “highly consequential power beyond what

Congress could reasonably be understood to have granted.” West

Virginia, 142 S. Ct. at 2609.




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      F. The District Court Erred In Denying Leave To Amend
         For Constitutional Claims.


  Dismissal of a complaint without leave to amend is improper unless

it is clear, upon de novo review that the complaint could not be saved by

any amendment. See Parents for Priv. v. Barr, 949 F.3d 1210, 1221 (9th

Cir. 2020), cert. denied, 141 S. Ct. 894 (2020); Thinket Ink Info. Res.,

Inc. v. Sun Microsystems, Inc., 368 F.3d 1053, 1061 (9th Cir. 2004). “We

review for abuse of discretion the district court’s denial of leave to

amend.” AE ex rel. Hernandez, 666 F.3d 631, 636 (9th Cir. 2012)

(citation omitted). “A district court also abuses its discretion when it

commits an error of law.” Id. (citation omitted).

  The District Court acknowledged Hodl Law’s constitutional

arguments that supported a finding in favor of standing, but explicitly

declined to address them because those arguments were not raised in

the Complaint. [1-ER-9–10] The District Court therefore not only

bypassed two critical constitutional questions under the First and Fifth

Amendments but also erred in failing to liberally grant Hodl Law leave

to amend the Complaint to specifically plead these constitutional

violations. See Fed. R. Civ. P. 15(a)(2). (“The court should freely give

leave when justice so requires”); see also, e.g., AE ex rel. Hernandez, 666

F.3d at 637 (holding district court abused in discretion in denying

plaintiff opportunity to allege additional facts supporting claim that

county social workers’ alleged constitutional violations were carried out



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pursuant to county policy). As discussed in is Opposition [2-ER-86–87]

and here, the constitutional arguments raised are inherently

intertwined with Hodl Law’s standing to sue the SEC and the District

Court should have addressed them. At minimum, the Court should

allow Hodl Law to amend its Complaint to more explicitly assert its

allegations that declaratory relief is required by Hodl Law’s First and

Fifth Amendment rights.


  VI. CONCLUSION


  In its de novo review of Hodl Law’s position that it has standing to

seek declaratory relief, the Court should find the District Court erred in

not finding a case or controversy that is sufficiently ripe for judicial

review. To the contrary, because Hodl Law has requested an answer

from the SEC on whether its use of the Ethereum Network and Ether

DCU violate the Securities Act and has been ignored, coupled with

multi-year history of no formal rule-making aside from its 2018 Speech,

this Court can “firmly predict” that the SEC will never provide an

answer to Hodl Law, effectively denying it of relief in either direction.

Consequently, the Court should reverse the District Court and hold that

Hodl Law has the standing to pursue declaratory relief.




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  At minimum, the Court should find the District Court erred in

refusing to grant Hodl Law leave to amend its Complaint to more

concretely plead its First and Fifth Amendment violations, which the

District Court recognized but declined to address.



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   1. This brief complies with the type-volume limitation of Fed. R. App.

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